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Subject: Wednesday Crypto Christmas Party NYC: Group interested
   Date: December 14, 2018 at 9:01 PM America/Los_Angeles
    To: Jason@blockworksgroup.io

 represent a blockchain technology group in New York and several of its members -- developers,
owners -- would like to attend Wednesday. Many of us are "old guard" who have been involved in
the space since 2013. I wanted to confirm there will be space for perhaps five to eight people.

 will personally commit to attending.

* I've been subscribing to the Off the Chain newsletter. It is a compelling read.

Sincerely

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